Case 0:24-cv-60135-WPD Document 6 Entered on FLSD Docket 03/14/2024 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division

    GARY BRECKA, an individual,

                              Plaintiff,
                                                               Case No.: 24-60135-CIV-
             v.                                                DIMITROULEAS
    SCOTT ZIMMERMAN, an individual, and
    WUNDR HOLDINGS LLC D/B/A WUNDR,

                      Defendants.
    ______________________________________/


                    NOTICE OF SETTLEMENT AND VOLUNTARY DISMISSAL

          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure and the parties

 settlement agreement, Plaintiff Gary Brecka hereby voluntarily dismisses this action with

 prejudice, with each party to bear its own costs and attorneys’ fees.

 Dated: March 14, 2024                                Respectfully submitted,


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